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                                    UNITED STATES DISTRICT COURT
                                     MIDDLE DISTRICT OF FLORIDA
                                           TAMPA DIVISION

     SAMANTHA RING,

            Plaintiff,

     v.                                                          Case No.: 8:19-cv-00772-VMC-JSS

     BOCA CIEGA YACHT CLUB, INC.,

           Defendant.
     ___________________________________/

                              DEFENDANT’S RESPONSES TO
                     PLAINTIFF’S SECOND REQUEST FOR PRODUCTION

            In accordance with Federal Rule of Civil Procedure 34, Defendant Boca Ciega Yacht

     Club, Inc. (“BCYC”) hereby responds to Plaintiff’s Second Request for Production:



             1.      All  documents       exchanged     between      BCYC       and   EDWARDS
     INVESTIGATIVE GROUP, LLC, 8994 Seminole Blvd., Suite 8, Seminole, FL 33772 and
     Thomas Edwards regarding the Plaintiff, including but not limited to her background,
     residence, and her dog, and including, but not limited to, instructions, assignments, scope of
     investigation, payment, notes, logs, background provided, and preliminary, draft reports, and
     invasion of privacy.

            RESPONSE:

            None other than the investigative report dated January 9, 2019 and the
            corresponding invoice, which have already been produced to Plaintiff.




                                                                                                       EXHIBIT 26


                                               COLE, SCOTT & KISSANE, P.A.
                 4301 WEST BOY SCOUT BOULEVARD - SUITE 400 - TAMPA, FLORIDA 33607 - (813) 289-9300 - (813) 286-2900 FAX
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            2.       The complete “Call Party” “script” and all communications circulated by and
     among BCYC members and its Board members and Flag Committee regarding the Call Party
     and the script.

            RESPONSE:

            Copies of all documents responsive to this Request are attached.



            3.      All written procedures and policies for BCYC’s new member application
     process, from start to admission, in 2007, 2018, and in 2019.

            RESPONSE:

            BCYC’s By-Laws detail the membership application process. The By-Laws were
            updated more than once in 2018. All applicable versions of the By-Laws are
            attached.

            In 2007, the new member application process was not formally documented. As
            for the application itself, based on BCYC’s reasonable investigation conducted
            to date, the BCYC membership application from 2007 is still encapsulated in the
            current online application. None of the original questions that appeared in this
            application in 2007 were removed. The only change that was made to the
            application over the years was the addition of the following questions/fields:

            •     Preferred Phone
            •     Gender of Primary Member
            •     Spouse/Partner Preferred Phone
            •     Gender of Spouse/Partner
            •     Spouse/Partner Other Phone
            •     Spouse/Partner Email


          4.      All documents pertaining to the Plaintiff’s application for membership in
     BCYC, including any Background Check performed.

            RESPONSE:

            None other than Ms. Ring’s Wild Apricot membership profile, which has
            already been produced to Plaintiff.

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                                          CERTIFICATE OF SERVICE
            I HEREBY CERTIFY that on this 29th day of November, 2019, I furnished a true

     and correct copy of the foregoing via e-mail to: Ms. Marcy I. LaHart, Esq., c/o Marcy I.

     LaHart, P.A., 207 S.E. Tuscawilla Rd., Minacopy, FL 32667, (352) 545-7001 (T), (888) 400-

     1464 (F), marcy@floridaanimallawyer.com; and Ms. Deneze Venza, c/o Venza Law, PLLC,

     931 Village Blvd., #905-322, West Palm Beach, FL 33409, (561) 596-6329 (T),

     dvenza@venzalawpllc.com, Attorneys for Plaintiff.


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